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                                             L.B.F. 3015.1

                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

In re: Gregory Buchanan



  Debtor                                          Chapter 13

                                                 Case No.        23-12406-pmm



                                Chapter 13 Plan



           XOriginal
                          Amended

Date:   August 11, 2023

                            THE DEBTOR HAS FILED FOR RELIEF UNDER
                             CHAPTER 13 OF THE BANKRUPTCY CODE

                                 YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                             NOTICE OF MEETING OF CREDITORS.

Part 1: Bankruptcy Rule 3015.1(c) Disclosures

        Plan contains non-standard or additional provisions – see Part 9
        Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
        Plan avoids a security interest or lien – see Part 4 and/or Part 9

Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY
CASE
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    § 2(a) Plan payments (For Initial and Amended Plans):

      Total Length of Plan: 40         months.

      Total Base Amount to be paid to the Chapter 13 Trustee Scott F. Waterman 21000.00
      Debtor shall pay the Trustee $           350_ per month for 40
       months and then Debtor shall pay the Trustee $             _ per month for the
       remaining                               months;
                                               or
      Debtor shall have already paid the Trustee $           _ through month number _     and
      then shall pay the Trustee $       _ per month for the remaining          _ months.

         Other changes in the scheduled plan payment are set forth in § 2(d)
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     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
addition to future wages (Describe source, amount and date when funds are available, if known):



      § 2(c) Alternative treatment of secured claims :
              None. If “None” is checked, the rest of § 2(c) need not be completed.

              Sale of real property
              See § 7(c) below for detailed description

              XLoan modification with respect to mortgage encumbering property:
              See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:


      § 2(e) Estimated Distribution:
         A. Total Priority Claims (Part 3)
               1.   Unpaid attorney’s fees                                 $4100
               2.   Unpaid attorney’s costs                                $ 0.00
 3.                    Other priority claims (e.g., priority taxes)                   $ 0.00
         B.              Total distribution to cure defaults (§ 4(b))      $ 0.00
        C.              Total distribution on secured claims (§§ 4(c) &(d))                    $
         D.              Total distribution on general unsecured claims(Part 5) $ 8500
                                               Subtotal                    $
         E.              Estimated Trustee’s Commission                     $1400
               F.       Base Amoun                                      $ 14000




      §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

        xBy checking this box, Debtor’s counsel certifies that the information contained in
Counsel’s Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive
compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $ 4725           , with the Trustee distributing to counsel the
amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the
requested compensation.
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Part 3: Priority Claims




  § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the
creditor agrees otherwise.

 Creditor                                 Claim Number          Type of Priority           Amount to be Paid by
                                                                                           Trustee
Mendelsohn & Mendelsohn, PC                                   Legal Fees                 4100.00




   § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than
full amount.
        XNone. If “None” is checked, the rest of § 3(b) need not be completed.



         The allowed priority claims listed below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


  Name of Creditor                                    Claim Number         Amount to be Paid by Trustee
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Creditor                            Claim Number          Description of Secured        Amount to be Paid by
                                                          Property and Address, if      Trustee
                                                          real property




                § 4(a) Secured Claims Receiving No Distribution from the Trustee:
                       None. If “None” is checked, the rest of § 4(a) need not be completed.
            Creditor                                                            Claim     Secured Property
                                                                                Number
                                                                                          2013 Sonata
                If checked, the creditor(s) listed below will receive no distribution
            from the trustee and the parties’ rights will be governed by agreement
            of the parties and applicable nonbankruptcy law.
            X U Drive                                                                     4 Chaser Court
            x US Department of Housing and Urban Development


                If checked, the creditor(s) listed below will receive no distribution
            from the trustee and the parties’ rights will be governed by agreement
            of the parties and applicable nonbankruptcy law.
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      § 4(b) Curing default and maintaining payments
            XNone. If “None” is checked, the rest of § 4(b) need not be completed.


    The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
 Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
 with the parties’ contract.



 Creditor        Claim Number        Description of Secure                   Amount to be paid by

                                     Property and Address, if                Trustee

                                     Real Property
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       § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
 confirmation determination of the amount, extent or validity of the claim
             xNone. If “None” is checked, the rest of § 4(c) need not be completed.

         (1)     Allowed secured claims listed below shall be paid in full and their liens retained until
 completion of payments under the plan.

         (2)      If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its
 determination prior to the confirmation hearing.

          (3)   Any amounts determined to be allowed unsecured claims will be treated either: (A) as a
 general unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by
 the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
 “present value” interest, the claimant must file an objection to confirmation.

          (5)    Upon completion of the Plan, payments made under this section satisfy the allowed secured claim
 and release the corresponding lien.

Creditor   Claim Number Description of   Allowed Secured Present Value Dollar Amount Amount to be paid
                        Secured Property Claim           Interest      of Present     By Trustee
                                                                       Value interest

______________________________________________________________________________________




§ 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
           XNone. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

         (1)     The allowed secured claims listed below shall be paid in full and their liens retained until
 completion of payments under the plan.

          (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
 rate or amount for “present value” interest in its proof of claim, the court will determine the present value interest
 rate and amount at the confirmation hearing.
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                   Claim    Description of   Allowed     Present    Dollar         Amount to
Name of Creditor   Number   Secured          Secure      Value      Amount of      be    Paid
                            Property         d Claim     Interest   Present        by
                                                         Rate       Value          Trustee
                                                                    Interest




                   Claim    Description of   Allowed   Present    Dollar Amount    Amount to
Name of Creditor   Number   Secured          Secured   Value      of Present       be    Paid
                            Property         Claim     Interest   Value Interest   by
                                                       Rate                        Trustee
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                 § 4(e) Surrender
                      XNone. If “None” is checked, the rest of § 4(e) need not be completed.

                        (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
                        (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured
            property terminates upon confirmation of the Plan.
                        (3) The Trustee shall make no payments to the creditors listed below on their secured claims.




                 § 4(f) Loan Modification
                      None. If “None” is checked, the rest of § 4(f) need not be completed.
                   (1)      Debtor shall pursue a loan modification directly with Village Capital and Investments LLC or its
             successor in interest or its current servicer (“Mortgage Lender”), in an effort to bring the loan current and
             resolve the secured arrearage claim.

                    (2)      During the modification application process, Debtor shall make adequate protection payments
             directly to Mortgage Lender in the amount of $ per month, which represents contractual monthly post-petition
             mortgage paymentts                               (describe basis of adequate protection payment). Debtor
             shall remit the adequate protection payments directly to the Mortgage Lender.

                  (3)       If the modification is not approved by December 1, 2023          (date), Debtor shall either (A) file
             an amended Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender
             may seek relief from the automatic stay with regard to the collateral and Debtor will not oppose it.


            Part 5: General Unsecured Claims

                  § 5(a) Separately classified allowed unsecured non-priority claims
                      XNone. If “None” is checked, the rest of § 5(a) need not be completed.


           § 5(b) Timely filed unsecured non-priority claims
                       (1) Liquidation Test (check one box)
                              xAll Debtor(s) property is claimed as exempt.
                              Debtor(s) has non-exempt property valued at $              for purposes of § 1325(a)(4) and
            plan provides for distribution of $                to allowed priority and unsecured general creditors.

                        (2) Funding: § 5(b) claims to be paid as follows (check one box):
                            Pro rata
                         X   100%
                             Other (Describe)




Creditor                               Claim Number         Secured Property
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                                Basis for Separate
Creditor         Claim Number   Classification       Treatment      Amount to be
                                                                    Paid by Trustee
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 Part 6: Executory Contracts & Unexpired Leases


         XNone. If “None” is checked, the rest of § 6 need not be completed.

 Creditor                        Claim Number       Nature of              Treatment by Debtor Pursuant to §365(b)
                                                    Contract or
                                                    Lease




 Part 7: Other Provisions


     § 7(a) General principles applicable to the Plan
        (1) Vesting of Property of the Estate (check one box)
                 XUpon confirmation
                    Upon discharge

          (2)       Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed
in its proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

         (3)      Post-petition contractual payments under § 1322(b)(5) and adequate protection payments
under § 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to
creditors shall be made by the Trustee.

        (4)       If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which
Debtor is the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable
exemption will be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and
general unsecured creditors, or as agreed by the Debtor and the Trustee and approved by the court.

    § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
principal residence

        (1)       Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to
such arrearage.

       (2)      Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition
mortgage obligations as provided for by the terms of the underlying mortgage note.

        (3)      Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the
sole purpose of precluding the imposition of late payment charges or other default-related fees and services
based on the pre-petition default or default(s). Late charges may be assessed on post-petition payments as
provided by the terms of the mortgage and note.

         (4)     If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder
of the claims shall resume sending customary monthly statements.

       (5)      If a secured creditor with a security interest in the Debtor’s property provided the Debtor with
coupon books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition
coupon book(s) to the Debtor after this case has been filed.

       (6)       Debtor waives any violation of stay claim arising from the sending of statements and coupon
books as set forth above.
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     § 7(c) Sale of Real Property
           XNone. If “None” is checked, the rest of § 7(c) need not be completed.

         (1)      Closing for the sale of                            (the “Real Property”) shall be completed
 within      months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
 agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in
 full under §4(b)(1) of the Plan at the closing (“Closing Date”).

        (2) The Real Property will be marketed for sale in the following manner and on the following terms:




           (3)     Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
 customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary
 to convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor
 from seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the
 Plan, if, in the Debtor’s judgment, such approval is necessary or in order to convey insurable title or is otherwise
 reasonably necessary under the circumstances to implement this Plan.

        (4)      At the Closing, it is estimated that the amount of no less than $              shall be made
 payable to the Trustee.

         (5)     Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours
 of the Closing Date.

        (6)     In the event that a sale of the Real Property has not been consummated by the expiration of the
 Sale Deadline:                    _.




 Part 8: Order of Distribution

The order of distribution of Plan payments will be as follows:

      Level 1: Trustee Commissions*
      Level 2: Domestic Support Obligations
      Level 3: Adequate Protection Payments
      Level 4: Debtor’s attorney’s fees
      Level 5: Priority claims, pro rata
      Level 6: Secured claims, pro rata
      Level 7: Specially classified unsecured claims
      Level 8: General unsecured claims
      Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
not to exceed ten (10) percent.
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 Part 9: Non Standard or Additional Plan Provisions

    Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
    box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan
    are void.

         XNone. If “None” is checked, the rest of Part 9 need not be completed.




   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
 nonstandard or additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and
 consent to the terms of this Plan.


Date:     August 11, 2023                                  /s/ Brenna H. Mendelsohn, Esq.
                                                              Attorney for Debtor(s)


         If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                             Debtor


 Date:
                                                             Joint Debtor
